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                      IN THE UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF ARKANSAS
                              FAYETTEVILLE DIVISION


UNITED STATES OF AMERICA                                                       PLAINTIFF

v.                           CASE NO. 5:12-CR-50008-003

ANA VACA-GOMEZ                                                              DEFENDANT


                                          ORDER


       Comes on for consideration the Report and Recommendation (Doc. 364) filed in this

case on June 10, 2015, by the Honorable Erin L. Setser, United States Magistrate Judge

for the Western District of Arkansas. More than fourteen (14) days have passed without

objections being filed by the parties.

      Accordingly, IT IS ORDERED that the Report and Recommendation (Doc. 364) is

ADOPTED IN ITS ENTIRETY, and Defendant's Amended Motion to Vacate under 28

U.S.C. 2255 (Doc. 333) is DENIED.            l
       IT IS SO ORDERED on this      -L0l_{ d,ay of JulvJ/1
                                                          , 2015.
